Case 4:03-cv-00327-GKF-PJC Document 394 Filed in USDC ND/OK on 11/19/10 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   BETTY JEAN COLE, et al.,               )
                                          )
                              Plaintiffs, )
                                          )
                                          )
   v.                                     )
                                          )
   BLUE TEE CORP., et al.,                )
                                          )
                              Defendants, )
   _____________________________________ )       Case No. 03-CV-00327-GKF-PJC
                                          )
                                          )
   THE DOE RUN RESOURCES                  )
   CORPORATION,                           )
                                          )
               Third-Party Plaintiff,     )
                                          )
                                          )
   v.                                     )
                                          )
   UNITED STATES OF AMERICA,              )
                                          )
               Third-Party Defendant.     )
   ______________________________________________________________________________


    DECLARATION OF AMY M. CROUCH IN SUPPORT OF MOTION FOR SUMMARY
             JUDGMENT FILED BY DEFENDANTS BLUE TEE CORP.
                     AND GOLD FIELDS MINING, LLC


           1.     My name is Amy M. Crouch. I am over the age of twenty-one (21), and I am

   otherwise wholly competent to make this Declaration. I am a partner at the law firm of Shook,

   Hardy & Bacon LLP in Kansas City, Missouri, and I represent Defendants Blue Tee Corp. and

   Gold Fields Mining, LLC, in this action. As a result, I have personal knowledge of the following

   facts and they are true and correct.




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   4243592 v1
Case 4:03-cv-00327-GKF-PJC Document 394 Filed in USDC ND/OK on 11/19/10 Page 2 of 5




           2.     Shortly after August 16, 2010, Blue Tee and Gold Fields received a CD

   containing the “Expert Report of Kirk Brown” from Plaintiffs’ counsel. The CD also contained

   electronic copies of 7 exhibits to that report.

           3.     Shortly after August 16, 2010, Blue Tee and Gold Fields received a paper copy of

   a document titled “Expert Report of John M. Brown, Ph.D” from Plaintiffs’ counsel.

           4.     On October 15, 2010, Blue Tee and Gold Fields received an electronic copy of a

   document titled “Expert Report of Robert A. Simons, Ph.D” from Plaintiffs’ counsel.

           5.     Attached hereto as Exhibit A is a true and correct copy of the “Expert Report of

   Kirk Brown.”

           6.     Attached hereto as Exhibit B is a true and correct copy of Exhibit 1 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 1 Brown 10.15.08 resume and testimony list.”

           7.     Attached hereto as Exhibit C is a true and correct copy of Exhibit 2 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 2 04.12.04 Kirk W Brown expert report in Cole.”

           8.     Attached hereto as Exhibit D is a true and correct copy of Exhibit 3 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 3 10.28.2004 Rebuttal Report.”

           9.     Attached hereto as Exhibit E is a true and correct copy of Exhibit 4 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 4 05.27.05 Brown Affidavit.”




                                                     2

   4243592 v1
Case 4:03-cv-00327-GKF-PJC Document 394 Filed in USDC ND/OK on 11/19/10 Page 3 of 5




           10.    Attached hereto as Exhibit F is a true and correct copy of Exhibit 5 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 5 06.04.07 Brown Affidavit.”

           11.    Attached hereto as Exhibit G is a true and correct copy of Exhibit 6 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 6 06.14.07 Brown Affidavit with attachments.”

           12.    Attached hereto as Exhibit H is a true and correct copy of Exhibit 7 to the Expert

   Report of Kirk Brown which was delivered to Blue Tee and Gold Fields as a .pdf file named

   “Ex. 7 02.04.08 Brown Rebuttal Report.”

           13.    In an e-mail dated August 17, 2010, and in a subsequent telephone conference

   between the parties’ counsel, Plaintiffs’ counsel made clear that Plaintiffs were not incorporating

   Dr. Kirk Brown’s prior opinions from previous cases; rather, Plaintiffs’ counsel stated that his

   prior reports and affidavits were attached to the “Expert Report of Kirk Brown” as illustrative of

   the methodology he would employ in this case to perform site-specific modeling for each

   Plaintiff after the Court had made a decision regarding the structure of any trials in this case.

           14.    Attached hereto as Exhibit I is the August 17, 2010 e-mail from Plaintiffs’

   counsel referenced above. It states:

                  In connection with Dr. Kirk Brown’s report, we included Dr.
                  Brown’s analysis of individual parcels in the Palmer case. Dr.
                  Brown will be relying on and using the same methodology in the
                  Cole and Evans cases as he used in the Palmer case. Obviously
                  however, until bellwether Plaintiffs are identified and decided
                  upon, it is not possible or feasible to do site specific modeling in an
                  efficient or economical manner that is consistent with the Federal
                  Rules of Civil Procedure or helpful to the trier of fact. As such, in
                  Cole and Evans, Dr. Brown will perform specific modeling once
                  bellwether Plaintiffs were identified and confirmed.



                                                     3

   4243592 v1
Case 4:03-cv-00327-GKF-PJC Document 394 Filed in USDC ND/OK on 11/19/10 Page 4 of 5




           15.    Attached hereto as Exhibit J is a true and correct copy of the “Expert Report of

   John M. Brown, Ph.D” which contains a single exhibit titled “Re: Report for Reentrainment of

   Chat Particles at Tar Creek Superfund Site.”

           16.    Attached hereto as Exhibit K is a true and correct copy of the “Expert Report of

   Robert A. Simons, Ph.D.”

           17.    Attached hereto as Exhibit L is a true and correct copy of one of the Cole

   individual Plaintiffs’ Responses to Interrogatory No. 2 from Defendant Blue Tee Corp.’s First

   Interrogatories. Those Plaintiffs who have responded to this Interrogatory have stated in

   response that “Plaintiff has no way of ascertaining … [the] source” of the substances that

   allegedly contaminated the properties at issue and further state that “Plaintiff will rely upon

   expert testimony for further response.” (See id. at Exhibit L.)

           18.    Attached hereto as Exhibit M is a true and correct copy of excerpts from the

   transcript of the June 10, 2010 hearing in this matter before Magistrate Judge Cleary.

           I declare under penalty of perjury that the foregoing is true and correct.


           Executed in Kansas City, Missouri, on this 19th day of November 2010.


                                                  /s/     Amy M. Crouch *____________
                                                         Amy M. Crouch

                                                  SHOOK, HARDY & BACON, LLP
                                                  2555 Grand Boulevard
                                                  Kansas City, Missouri 64108
                                                  Telephone: (816) 474-6550
                                                  Facsimile: (816) 421-5547


   * I certify that I have the signed original of this document, which is available for inspection at
   any time by the Court or a party to this action.



                                                        4

   4243592 v1
Case 4:03-cv-00327-GKF-PJC Document 394 Filed in USDC ND/OK on 11/19/10 Page 5 of 5




                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 19th day of November 2010, I electronically transmitted the
   foregoing Declaration of Amy M. Crouch in Support of Motion for Summary Judgment Filed by
   Defendants Blue Tee Corp. and Gold Fields Mining, LLC to the Clerk of the Court using the
   ECF system for filing and transmittal notice of Electronic Filing the following recipients:

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                                                 By: /s/ Amy M. Crouch______________

                                                 5

   4243592 v1
